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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
   - - - - - - - - - - - - - - - - - x
                                      :
                                      :
   IN RE GENTA, INC. SECURITIES       :
   LITIGATION                         : Case No. 04-2123 (JAG)
                                      :
                                      :
   Relates to Consolidated            : Motion Date: June 12,
                                        2006
   Shareholder Derivative Litigation :
                                      :
                                      :
   - - - - - - - - - - - - - - - - - x

       PLAINTIFFS’ NOTICE OF UNOPPOSED MOTION FOR PRELIMINARY
                       APPROVAL OF SETTLEMENT

          PLEASE TAKE NOTICE that on June 12, 2006 at 9:00 A.M.,

   in Judge Greenaway’s courtroom, or as soon thereafter as

   counsel may be heard, Plaintiffs, by and through their

   counsel, shall move before the United States District Court

   for the District of New Jersey at the Courthouse located in

   Newark, NJ for an Order for Preliminary Approval of

   Settlement. The parties have entered into a stipulation of

   settlement.     Thus, this motion is unopposed.

          Counsel attaches its memorandum of law in support

   thereof and accompanying exhibits.

   Dated: May 26, 2006                Respectfully submitted,

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